Case 1:11-cV-06964-KI\/|W Doc #: 6 Filed 10/04/11 Page 1 of 56 'Page |D #: 243

1990 SBB!H 'l

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 2 of 56 Page |D #: 244

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

UNITED sTATEs oF AMERICA
02 Cr. 1236 (LBs)

 

 

V. cry
JoHN J. RIGAs, 'rIMoTHY J. RIGAS, °'
MICHAEL J. RIGAS, and MICHAEL C. MULCAHEY 5 '~‘
.,m§ g
fm _r:
DECLARATION OF TIMOTHY J. RIGAS §§ w
l. I am the former Chief Financial Ofiicer of Adelphia Communication :Corpr”and f
C:) g »'

:': t
/ d

was also a member of Adelphia’s Board of Directors.

2. The events that led to Adelphia’s downfall were triggered on March 27, 2002,
when Adelphia made a number of disclosures, one of which related to borrowings by Rigas
Family Entities under a co-borrowing arrangement with Adelphia. These disclosures were
approved by, and not controversial to, Adelphia’s Board of Directors, internal accounting
personnel, outside auditors or outside counsei. In the days immediately following those
disclosures, and with an already sluggish stock market, the price of Adelphia’s stock dropped
and government investigations began

3. Buchanan lngersoll, Which had been the sole outside counsel for the Rigas family
and Adelphia for nearly two decades, suggested that it would be best for the Rigas family to
obtain separate representation with respect to these issues, while Buchanan continued to
represent Adelphia.

4. Based upon Buchanan’s advice, and having little lcnowledge of other law iirms, I
contacted our financial advisors (Salomon Srnith Barney). Salomon expressed the view that the
initial market reaction to the disclosure would be short-term, that much information about

Adelphia’s co-borrowing arrangement was already in the market and that confidence in the

 

ease 1:11-¢\}-06964-Kl\/lvv Doc #: 6 ' Filed 10/04/11 Page 3 of 56 Page lD #: 245

Company would be restored. l asked Salomon to recommend counsel who could represent us.
Salomon suggested Stephen Fraidin at the Fried Frank law firm.

5. On Easter Sunday, 2002, members of my family and I met with Mr. Fraidin and
Mark Stein with Fried Frank to discuss the possibility of Fried Frank representing the Rigas
family in lieu of Buchanan lngersoll.

6. Fried Frank agreed to undertake the representation It was to be paid by Adelphia
for this legal work. Mr. Fraidin stated that, based upon his review of the situation, he did not
believe that there was a conflict of interest between the Rigases and Adelphia. He thought that
Fried Frank could be more effective if it also represented Adelphia. He stated that, if a conflict
arose, Fried Frank would continue to represent the Rigases and resign from representing
Adelphia.

7. Thus, our understanding was that Fried Frank was representing both the Rigas
family individually and Adelphia. Fried Frank never notified us that it believed a conflict existed
or formally resigned from representing us.

8. Arot.nd April of 2002, an associa.e of mine suggested that we might want to bring
in an attorney we knew, and who had a better understanding of Adelphia, to complement Fried
Frank. Accordingly, my family and l hired Michael Snyder, a partner at Reed Smith who had
formerly been with Buchanan Ingersoll, to represent us. Reed Smith agreed to take on the
representation and stated that any conflicts of interest that might have existed with respect to the
Adelphia situation had been waived. Mr. Snyder attended certain meetings on our behalf.
However, approximately six weeks after undertaking the representation, Reed Smith advised us
that it had determined that it did have a disqualifying conflict of interest, and would need to

withdraw from representing us. Reed Smith did not elaborate as to what caused it to change its

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 4 of 56 Page |D #: 246

mind as to the existence of an alleged conflict, but this withdrawal took place after the time that
Adelphia started holding meetings with the govemment. Additionally, it became clear at some
point that Fried Frank was representing Adelphia exclusively and ignoring the interests of the
Rigas family.

9. Between March 27, 2002 and May 23, 2002, Adelphia’s Board of Directors had
multiple discussions, some of which occurred during formal board meetings, regarding whether
it would be appropriate to indemnify and advance defense costs to Adelphia’s officers and
directors in regard to events arising out of a possible government investigation These
discussions included attorneys from Adelphia’s long-time counsel Buchanan lngersoll, along
with lawyers from Fried Frank.

lO. All persons present during these discussions agreed that indemnification was
appropriate In particular, directors Leslie Gelber and Dennis Coyle were very outspoken that
Adelphia should post significant retainers with various law firms and place millions of dollars in

escrow in order to ensure that, regardless of what ultimately happened, all of Adelphia’s officers

1

and directors, includin0 the Rigases, had sui.icier‘

D.,-

t lunds from the Company to pay defense
costs..

ll. Mr. Gelber and Mr. Coyle contacted David Boies of the Boies Schiller law firm
about teaming up with Fried F rank to represent the Company, as well as representing Gelber and
Coyle individually We met with Mr. Boies, who indicated that he had reviewed the situation
and spoken with Messrs. Gelber and Coyle. Mr. Boies expressed his opinion that Adelphia’s
situation was not like that of Enron or some other companies then being investigated by the SEC,
rather one that merely needed to be explained to the SEC. He further stated that, based upon his

conversations with Mr. Gelber and Mr. Coyle, Adelphia’s outside directors had been aware of

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 5 of 56 Page |D #: 247

and approved all of the transactions and agreed they were proper. Based upon this, Mr. Boies
stated that there was no conflict in his firm representing Adelphia, the Rigases and the outside
directors Subsequently, he advised that, although there was still no conflict, the Rigas family
should retain Glenn Mitchell, an attorney with whom Mr. Boies had worked and was
comfortable, so that we would have our own separate counsel for any possible court proceedings
Mr. Mitchell would support Mr. Boies’ firm so that a coordinated strategy could be followed.
Mr. l\/Iitchell subsequently resigned as counsel after our relationship with Mr. Boies’ clients
became adversarial

12. Additionally, Adelphia hired counsel for several members of its accounting
department, as well as separate counsel for Adelphia Vice President of Finance, James Brown.
My family retained Paul Grand at the Morvillo law firm, who was recommended by Boies, to

represent us with respect to government investigations It was agreed that Adelphia would pay

all of these legal costs

13. Carla Brown-Horn, an in-house attorney with Adelphia, was charged with
Coordinating among the law firms retained, obtaining retention letters and reviewing legal

invoices To the best of my recollection, prior to June 2002, l was never asked to pay for legal
services rendered to me. l understand that those charges were to be paid by Adelphia.

14. In mid-May, 2002, we received word that some of Adelphia’s directors had an
urgent need to meet with us. A late night meeting with Adelphia directors Erland Kailbourne
and Peter Metros was held at the Rigas family home in Coudersport, Pennsylvania.

15. During that meeting, Mr. Kailbourne asked my father, John Rigas, to resign as
Chairman and CEO of Adelphia. Mr. Kailbourne and Mr. Metros stressed that my father would

always be an important part of the Company and would maintain an office at Adelphia, have

ease 1:11-cv-06964-Kl\/lv\/ Doc #: 6 Filéd 10/04/11 Page 6 of 66 Page lD #: 246

access to Adelphia employees and serve as the Company’s Chairman Emeritus. However, Mr.
Kailboume stated that Adelphia was facing significant pressure from the government and market
forces, such that the Company’s future required a new public face. He indicated that, once the
issues confronting the Company had been resolved, my father would return to a more formal role
with the Company. For the good of the Company, my father agreed to resign. At that time, it
was discussed that other Rigas family members would continue in pivotal roles with the
Company.

16. Later, David Boies suggested that l resign my position as Adelphia’s Chief
Financial Officer, but remain on Adelphia’s Board of Directors and continue to serve Adelphia
as a consultant. I was to receive a severance package For the good of the Company, l also
agreed to resign as CFO. I believed that once the issues confronting the Company had been
resolved, I would return to a more formal role with Adelphia Furthermore, l knew that Mr.
Kailboume and the other individuals who would assume leadership positions had no experience
running a cable company and assumed that they would require the continued involvement of the
Rigas family.

l7. On or about May 14 or 15, 2002, a meeting/conference call occurred with various
Adelphia directors and outside counsel. Some participants (including myself) attended the
meeting in Adelphia’s Executive Conference Room while others participated by telephone
During that meeting, Audrey Strauss, an attorney with Fried Frank, reported on discussions she
had with the government Ms. Strauss advised that the government was taking the position that
Adelphia was not cooperating with the government’s investigation Ms. Strauss further
conveyed the government’s comment that a continued failure to cooperate (as the government

viewed it) would be met with serious consequences, which might include an indictment of

Case 1:11-cv-»66964-K|\/|W Doc #: 6 Filed 10/04/11 Page 7 of 56 Page |D #: 249

Adelphia. l was stunned by this report, and asked Ms Strauss what more we could have done.
She could not articulate any lack of cooperation by anyone associated with Adelphia. During
that meeting, nobody pointed to anything that could or should have been done differently Prior
to this report, Fried Frank had never indicated that it believed we had done anything wrong.

18. On May 18, 2002, a meeting of the Board of Directors was held. During that
meeting, Mr. Kailboume and various attorneys reported on meetings with the SEC and the U.S.
Attorney’s office. As indicated in the minutes of that meeting, Mr. Kailboume discussed written
agreements with my father and me. One of Adelphia’s attorneys suggested that the government
was monitoring the negotiations over an agreement with the Rigas family and might not permit
certain arrangements

19. During the May 18 Board meeting, it was suggested by some of Adelphia’s
directors that my brothers Michael Rigas and James Rigas resign their positions of employment
with Adelphia, and that all members of the Rigas family resign from the Board. Mr. Kailboume
reported that the government was demanding the Rigases’ resignation and said it would be the
only way to save the Company. However, he expressed his personal support for the Rigas family
and indicated his continued belief that we had not engaged in any wrongdoing.

20. In order to facilitate the survival of the Company that my father had formed
approximately fifty years ago, and to which my brothers and I had devoted our entire adult lives,
we agreed to resign as directors and began negotiating an appropriate agreement

21. During these negotiations there was a significant amount of back-and-forth with
Adelphia’s attorneys on various issues Among other things, the Rigas family reaffirmed that
certain assets (including stock in Adelphia and the Rigas family’s private cable company

holdings) were available to repay their debts and to reassure the marketplace. ln these

Case 1:11-cV-O6964-KMW Doc #: 6 Filed 10/04/11 Page 8 of 56 Page |D #: 250

negotiations two issues were of particular concern to my family and me First, and most
importantly, we required that Adelphia acknowledge its continuing obligation to pay our future
legal costs in connection with all matters related to Adelphia. Second, we wanted the ability to
appoint two non-family members to Adelphia’s Board, in order to ensure that our family had
continued access to information regarding matters being addressed by the Board and that nothing
of significance regarding the Company or the investigation would be permitted to happen
without our knowledge

22. The Board’s lead attorney during these negotiations was David Boies. During
these negotiations various representatives of Adelphia (including Mr. Kailboume) repeated that
Adelphia was in frequent contact with the government regarding these negotiations On some
occasions, Adelphia representatives stated that certain provisions under consideration might be
difficult for the government to accept However, l\/lr. Kailboume and Mr. Boies consistently
assured us that Adelphia would not cut off funding for our defense costs

23. I specifically recall that during one call, Mr. Fraidin, a lawyer with Fried Frank,
identi-ied certain requests tha. he said came from the government l later conveyed these
thoughts to Mr. Boies Mr. Boies essentially waived off these concerns, stating that he believed
the terms being discussed were appropriate, and that he (l\/[r. Boies) would take care of working
through any concerns that the government might have after the agreement was entered.

24. On May 23, 2002, we executed an Agreement memorializing the terms of our
discussions with Adelphia, including our continued right to advancement/indemnification from
Adelphia. I understood the 5/23 Agreement to be a valid and binding contract as to all parties,
which was based upon the terms that were needed to save Adelphia, as well as our need to ensure

a source of payment for our legal costs.

l -Case 1:11'-cv'-O6964-K|\/|W Doc #: 6 `F.i|ed 10/04/11 Page 9 of 56 Page |D #: 251

25. A true and correct copy of the 5/23 Agreement is attached hereto as Exhibit l.

26. The day after entering into the 5/23 Agreement, Adelphia filed a form 8-K with
the SEC, which advised that a Special Committee of Adelphia’s Board was investigating certain
transactions involving the Rigas family, and that it should not be assumed that the transactions
discussed were approved by the Board of Directors or were the subject of arms-length
negotiations My family and l viewed the 8-K as false, misleading and a surprise attack on us, in
that it was inconsistent with the message that Adelphia had sent prior to that time, i.e. that the
Company did not believe that we had engaged in any wrongdoing but that our resignations were
necessary to satisfy outside sources (such as the government and the capital markets) and move
the Company forward. We simply could not see how this misleading 8-K was appropriate or
beneficial to the Company.

27. Between May 23 and June l (the date on which Adelphia apparently determined
that it would not pay defense costs for the Rigas family), I was not asked to cooperate with the
Special Committee in any regard. Similarly, I was not asked to respond to any allegation that l
had breached mv duties te tire Company. Moreover, from the time th"t We hired Fried Frank we
authorized Fried Frank to hire an accountant (PriceWaterhouse) to assist its investigation At all
times when we remained in charge of Adelphia, we gave Fried Frank access to any Company
documents or personnel it requested.

28. During the time period from Adelphia’s decision to cease advancing defense costs
through the conclusion of the criminal trial, the substantial majority of my personal assets
consisted of Adelphia securities or ownership in the Rigas Family Entities (private companies

owned by the Rigas family). Thus, almost all of my assets (which were always available for

repayment of Rigas debt) were placed in trust as part of the 5/23 Agreement Accordingly, I

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 10 of 56 Page |D #: 252

needed to rely upon our right of advancement from Adelphia in order to ensure payment of my
legal costs As a result of an April 2005 settlement agreement with the government, all of my
ownership interests in any material assets were either forfeited to the government or have been
transferred to, or for the benefit of, other members of the Rigas family as consideration for their
consent to the forfeiture of their assets to the government The legal fund established in our
settlement agreement with Adelphia has already been exhausted.

29. Following Adelphia’s refusal to pay our defense costs, and having already been
denied the ability to use Fried Frank or Reed Smith as our counsel, we made extensive efforts to
retain another law firm having sufficient resources and expertise to handle a case of this
complexity, which would supplement the work of our criminal defense attorneys For instance,
due to the sophisticated nature of the transactions under investigation, my family engaged the
Dewey Ballentine law firm to supplement criminal counsel in analyzing the sophisticated
business transactions at issue and developing a cohesive strategy for defending against the multi-
faceted attack against us Retaining such co-counsel was essential to my family and me, but we

` 1-1~\' ` n~`,,\£r... ,\... .:
qu:red to terminate Dewe‘r Ballentine due to a iad or funds to pay it.

were re

30. Thus, Adelphia’s refusal to pay our defense costs interfered with my ability to
retain counsel of my choosing As another example, we interviewed Kirkpatrick & Lockhart
(“Kirkpatrick”), a Pittsburgh-based law firm that had been highly recommended to us. However,
Kirkpatrick estimated a litigation budget of approximately 315-20 million and required a
substantial retainer. Due to our inability to pay that retainer or ensure the payment of such

substantial fees, we were unable to hire the Kirkpatrick firm. We interviewed various New York

law firms that we were unable to retain due to their fee requirements

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 11 of 56 Page |D #: 253

31. Additionally, we were forced to terminate lawyers who had provided us with
valuable counsel on certain strategic and supplemental matters, including Michael Mitchell.

32. Furthermore, we wished to utilize our civil counsel, Dilworth Paxson, to perform
certain projects related to the criminal case, but were limited in our ability to do so, due to the
lack of funds and the requirement that Dilworth devote most of its efforts towards trying to
obtain funds to pay our lawyers

33. I had many conversations with defense counsel about trying to find money for
defense costs Because of the expected length of trial (which ended up taking four-and-a-half
months) and my inability to secure a consistent source of funds for defense costs, defense
counsel advised me that they would limit each firm’s participation at trial to a single attorney per
defendant, if we could not find more funds

34. From Adelphia’s decision to deny advancement, and throughout the entire
calendar year of 2003, much of our legal efforts were directed at developing and pursuing
strategies to obtain funds to pay our lawyers Most of the litigation surrounding this issue
u noided in tire bankruptcy court where we were represented by our civil counsel, Dilworth
Paxson Our efforts to obtain funding for our defense costs were vigorously resisted by
Adelphia.

35. Ultimately, the defendants in the Southern District of New York case (including
my father and me) were able to obtain approximately $27.8 million from the Rigas Family
Entities to put towards defense costs However, those funds were authorized by the bankruptcy
court separately and at different times The first authorization totaled 315 million and was not
provided until approximately October 2003 (about two-and-a-half months prior to the original

trial date and four months prior to the actual trial). Additionally, these funds were to cover all

l Case 1:11-c\-/--O6964-K|\/|W Doc #: 6 Filed 10/04/11 rPage 12 of 56 Page |D #: 254

four defendants in the criminal case. Because of the large backlog of unpaid legal bills - much
of which were expended on efforts to obtain defense funds rather than substantive criminal
defense work - such funds were quickly exhausted Thus, a second authorization Was requested
but not granted until the trial was already in progress

36. As a result of Adelphia’s failure to advance defense costs, our attorneys were
unable to defend the case in the same way they would have if Adelphia had been advancing
defense costs.

37. For instance, the case involved millions of pages of documents produced on cds.
This information was not produced in searchable format Because we were unable to pay our
attorneys to review the millions of documents that had been produced in the case, we had to do
much of our own document review from home, utilizing unsophisticated coding systems The
review was made even more difficult because the documents were produced in a format
requiring that each page be individually reviewed versus being able to skip all pages in a single
document Because the cds were riddled with irrelevant documents, such as telephone books,
not being °ble to advance to the next document without reviewing every individual page made
the review tedious and time consuming

38. The Rigas family also reviewed thousands of hard copy documents in hundreds of
boxes

39. At the time the family reviewed the cds and boxes, we had no idea regarding the
scope of the government charges, which greatly expanded just before trial.

40. We also retained Navigant, a less expensive, non-attorney consultant to help

organize our document review and focus on certain document issues Thus, our attorneys were

unable to conduct a detailed review of many of the documents in this case Moreover, many of

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 13 of 56 Page |D #: 255

the documents produced by Buchanan, which were not received until two to three months prior
to trial, were never reviewed by anyone Some of the CDs that we received from the government
were corrupted and could not be reviewed, but we lacked the time or resources to follow-up.

41. The result of the ineffective document review was that documents that would
have been crucial to the defense were missed and, therefore, unavailable at the time of trial.

42. For example, at trial, we did not locate before trial a 1999 memorandum from
James Brown to the Adelphia Board regarding co-borrowing. Contrary to the government’s
arguments and contrary to Brown’s trial testimony, the memorandum explicitly disclosed to the
Board that the Rigases were using co-borrowed funds for their purchases of Adelphia stock. The
memorandum was attached to letters from a dozen banks indicating that they knew and approved
of the use of the funds for stock purchases

43. Another crucial document that was turned over to the defense but never
uncovered during the subpar document review was a 1998 correspondence between Carl
Rothenberger and Bruce Booken (two of Adelphia’s lawyers at Buchanan Ingersoll) that was

nwf

pal f th D",\l»\¢~.“n.~

+' "FL' _ 4- . + +i i+L\ l`\ l\/f L\ ll
ne uuviiaiiari pl`Odi.lCLiOi'i. 1111$ dOC'L/ii'i'iciil. rCuCCLS a CGi`r‘v'Ci`S"uOii 'v'v'lui u€a"i ivLai'Snau

,.
C>

about how the Rigases could use Adelphia credit availability to fund purchases of stock.

44. Buchanan lngersoll represented the Rigas family even before Adelphia became a
public company and, was therefore, an important source of information regarding, among other
things, Adelphia’s historical practices relating to the transactions at issue in the criminal case.

45. Buchanan had hundreds of boxes of hard copy documents from the
commencement of its representation of the Rigases through the mid-199OS in a warehouse in
Westem Pennsylvania. Because of funding issues, such documents were only briefly scanned

over a day or two by a small team consisting of me, a former Adelphia employee and a junior

Case 1:11-cv-O6964-K|\/|VV Doc #: 6 Filed 10/04/11 Page '14 of 56 Page |D #: 256

associate from our civil counsel. With such a limited review, we were unable to locate
documents that l know would have assisted our defense

46. Similarly, l do not believe that any meaningful review of Adelphia’s public filings
from 1986 through the mid-l990s occurred prior to trial. This information was critical to place
the subsequent transactions at issue in the criminal trial into the proper context

47. Additionally, it is my understanding that lack of resources - together with the
prohibition against current Adelphia employees communicating with the Rigases or their
representatives ~ limited my lawyers’ ability to interview many potentially important third party
witnesses

48. Financial constraints also impaired their ability to prepare witnesses or retain
appropriate experts For instance while l understand that James Brown (the prosecution’s chief
witness in the case at trial) spent approximately 400-500 hours preparing with the government,
our limited financial resources did not allow a similar amount of time to be spent preparing for

my potential testimony, which ultimately played a critical role in my decision not to testify.

failure to advance defense costs made it cost-prohibitive for each defendant to pay his respective
attorneys to thoroughly understand all of the complex transactions and issues involved in the
case Accordingly, it was necessary for counsel to divide the various issues and transactions
among them. Thus, although l was personally involved in many of the transactions and issues
that were central to the government’s case, 1 had to rely upon other counsel for the other
defendants to rebut the government’s argument on those issues

50. Adelphia’s decision to cut off defense costs also impacted other targets of the

government’s investigation For instance James Brown approached me in a panic when

Case 1:11-ov-O6964-K|\/|W Doc #: 6 Filed 10/04}11 Page' 15 of 56 Page |D #: 257

Adelphia advised that it would no longer pay his legal costs. He asked the Rigas family for a
loan to pay his legal costs and to contact our “wealthy friends” to attempt to get additional
resources to pay defense costs We agreed to lend him $400,000 to partially cover a $800,000-
900,000 retainer request from his attorney. Mr. Brown indicated at the time that he did not think
that anybody at the Company had done anything wrong He believed the charges against him
were defensible, but he was worried about how he would defend against charges arising out of
such complex transactions without a source of funding for his defense attorneys Confronted
with these pressures he eventually entered a guilty plea and became the governrnent’s chief
cooperating witness

51. At the criminal trial, Adelphia’s counsel was in the courtroom and consulted with
the government’s lawyers throughout the proceedings

52. In early July, 2002, my criminal counsel was in talks with the government
regarding the possibility that the government Would bring criminal charges against me I was
told by my counsel that the government had advised that no charges would be brought until after
Labor Day because the investig“tio“i was still progressing

53. Within a week after the first meeting of the new Corporate Fraud Task Force on
July 12, 2002, the media began reporting that we would soon be indicted.

54. My counsel, along with my father’s counsel, repeatedly requested over the course
of the ensuing week that we be permitted to voluntarily surrender (something routinely
perrnitted) but those requests were rejected.

55. Instead, the government arrested us on July 24, 2002 in a public “perp walk” in

handcuffs in front of the media, which had clearly been tipped off to the arrests lndeed, when

we were first taken into custody the press and photographers had not yet arrived, so we were kept

Case 1:11'-cv-O6964-»K`|\/|W Doc #: 6 Filed 10/04/11 Page 16 of 56 Page |D #: 258

in a room in a government building for approximately two hours and then escorted outside once
the press had gathered so the press could see us and take our pictures in handcuffs."

56. Buchanan lngersoll (“Buchanan”) was first retained to represent the Rigas family
in the early 1980’s. When the decision was made to consolidated the majority of the cable
companies owned by the Rigas family into a new public company under the name Adelphia
Communications Corp., Buchanan represented the family and Adelphia in the initial public
offering

57. From that point until the Summer of 2002, Buchanan continued to represent both
the Rigas family and Adelphia, essentially acted as outside general counsel.

58. Buchanan partner, Carl Rothenberger, a securities and corporate governance
attorney, led the team of Buchanan of attorneys representing the Rigas family and Adelphia. Mr.
Rothenberger was involved in virtually all of the transactions and disclosures regarding the Rigas
family and Adelphia during this period.

59. Following the Rigases’ resignations from Adelphia, and notwithstanding the long
attomey-ciient relationship between the Rigas family and Buchanan, neither Mr. Rothenberger
nor any other Buchanan attorney would speak with our counsel regarding Buchanan’s
involvement in the over 15 years of transactions and disclosures regarding Adelphia and the
Rigas family. The refusal of Buchanan to speak to our counsel had a devastating effect on our
defense

60. Doug Malone was Adelphia’s Director of Extemal Reporting. In that capacity, he
had full and direct access to all of Adelphia’s books and records including those maintained on

computer systems such as Adelphia’s general ledger.

Case 1:11-cv-O6964-K|\/1W Doc #: 6 Filed 10/04/11 Page 17 of`56 Page |D #: 259

1 declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge, information and belief under 28 U.S.C. § 1746.

Executed on: 05 EJ¢’/ ,,?/, 2 V//

 

%:%CEZ¢;L.

Timothy/J. 1€igas

728313_7

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 18 of 56 Page |D #: 260

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 19 of 56 Page |D__#: 261

Exhibit 99.01
AGREEMENT

This agreement, dated May 23, 2002, sets forth the essential
terms of an agreement between Adelphia Communications Corporation
("Adelphia" or the "Company") and the Rigas Family, as defined herein.

l. The Rigas Family members (John Rigas, Tim Rigas, James Rigas and
Michael Rigas, collectively with the entities directly or indirectly owned
or controlled thereby, the "Rigas Family“) will resign immediately from the
Board of Directors of Adelphia. The Rigas Family members may designate two
non-family members to be appointed to the Board until the earlier of
December 31, 2006, the sale of the Family Cable Operations, or the
repayment of the Rigas Family's obligations.

2. All Rigas Family members resign as officers of Adelphia effective
immediately.

3. All stock owned by the Rigas Family will be placed in a voting
trust until all obligations of the Rigas Family to the Company for loans,
advances, or borrowings under the co-borrowing agreements or otherwise are
satisfied. The voting trust will vote such shares as directed by the
Special Committee through the Company's 2004 annual meeting and thereafter
in proportion to the votes cast by all other shares.

4. The Rigas Family's Managed Entities (the "Family Cable Operations")
will use all of their free cash flow to pay down the co-borrowing debt that
is the primary liability of the Family. The Rigas Family will pledge their
equity in all the Family Cable Operations to the Company until all
obligations of the Rigas Family to the Company for loans, advances or
borrowings under the co-borrowing agreements or otherwise are satisfied.

5. The Rigas Family agrees to transfer, and to do everything in their
power to facilitate the transfer, of the stock or assets of the Family
Cable Operations to the Company or a person or entity designated by the
Company as requested by the Company in exchange for (a) an amount equal to
the taxes incurred by the Rigas Family as a direct and necessary result of
the transfer and (b) a reduction in the amount of the Family's primary
obligation under the co-borrowing agreements equal to the difference
between the appraised value of the stock and assets transferred and the
amount of such taxes incurred. In requesting the transfer of stock or
assets, the'Company will make a reasonable effort to maximize the economic
benefit to the Company. Interest shall accrue on the remaining balance
under the co-borrowing agreements at a rate of 6% per annum, with such_
interest to be paid on December 31, 2006 or at such earlier time that the
Rigas Family elects to repay the balance, which it is explicitly permitted
to do.

The value of the assets transferred pursuant to this paragraph
shall be established by independent appraisers Selected by the Company and
by the Rigas Family. (For this purpose, the Rigas Family may retain and/or
may utilize the recent appraisal prepared for the Company by Dugan
Financialg Inc., and the Company hereby consents to such use.) The
respective appraisers will consult with each other and seek to reach
agreement on such appraised values. If the difference between the
appraisals is less than 15% of the higher appraisal, then the value of the
systems will be deemed to be the average of the two appraisals; if the
difference between the appraisals is more than 15% of the higher appraisal,
then the two appraisers shall retain a third appraiser who shall appraise

CaSe 1211-CV-O6964-K|\/|W DOC #Z 6 Filed 10/04/11 PaQe 20 Of 56 Page |D #Z 262

such systems in consultation with the first two appraisers, and such third
appraisal shall be binding.

6. The Company agrees that the Family Cable Operations that the
Company reasonably concludes are not strategic (e.g., Coudersport, Dubois,
Blairville, Hilton Head) or otherwise needed in connection with planned
dispositions of assets shall, at the request of the Rigas Family, be
appraised pursuant to the provisions in paragraph 5 above. If the Rigas
Family or a third party pays the appraised amount to the Company to reduce
the outstanding co~borrowing obligations, such assets will be released from
the restrictions in paragraph 4 above.

7. All Company debt held directly or indirectly by the Rigas Family
(approximately $567 million) will be transferred to the Company in exchange
for satisfaction of the $202 million due under existing stock purchase
agreements and a reduction of $365 million in the amount of the Rigas
Family's primary co-borrowing obligations.

8. All Adelphia shares owned directly or indirectly by the Rigas
Family will be pledged to secure: (a) the repayment of co-borrowing
facilities, and (b) to secure the undertaking to repay Adelphia for
indemnification payments discussed in paragraph 11 below. To the extent
permitted by Delaware law, the Company agrees not to seek any transfer or
collection of such shares in connection with any effort to collect such
balance prior to December 31, 2006; provided, however, that if prior to
December 31, 2006, the lenders commence judicial or arbitration proceedings
to collect the co-borrowing balance owed by the Rigas Family, the Company
will be entitled to access pledged shares to satisfy that obligation.

9. The land in the Timber Deal will be transferred to the Company in
exchange for a $464,930 reduction in the amount of the Rigas Family's
primary co-borrowing obligations.

lO. The Company will honor its commitment to make the following
severance arrangements for John Rigas: (a) cash compensation of $1.4
million per year for three years, (b) healthcare coverage for him and his
wife for the remainder of their lives, (c) the use of an office, computer
and telephone equipment and secretary, (d) vested stock options exercisable
for their term, and (e) the use of the Company planes for emergency reasons
as available and as authorized by the Company (the "Severance
Arrangements"). The Severance Arrangements will terminate if John Rigas is
convicted of a felony.

11. The Company will provide indemnification to family members
(according to the Bylaws and Delaware law) as long as Rigas Family members
undertake to repay Adelphia per the Bylaws. This undertaking will be
collateralized as per paragraph 8 above.

12. Adelphia reserves all of its rights to take action against the
Rigas Family in the future. The Rigas Family reserves all of its rights to

take action against the Company in the future. All statute of limitations
are tolled.

13. The parties agree, intending to be legally bound, to the
foregoing. The parties acknowledge that the implementation of this
agreement will require the preparation and execution of definitive
documentation and the approval, consent or other action of third parties.
The parties will act in good faith and use their commercially reasonable
efforts, separately and in cooperation with each other, to implement this
agreement. To the extent the parties are not able to agree on definitive

Case 1:11-cv-06964-K_|\/|W Doc #: 6 Filed 10/04/11 Page 21 of 56 Page |D #: 263

documentation of this agreement, the parties agree to submit to binding
arbitration pursuant to the rules of the American Arbitration Association
to resolve the terms of the definitive documentation of this agreement.

14. In order to permit the Rigas Family to prepare financial
statements for themselves and their affiliates and associates, including
their tax returns, the Company will permit the Rigas Family and their
representatives to have reasonable access to the books and records of the
Company, its subsidiaries and the entities which are contributed.

15. This Agreement shall be governed by and construed in accordance
with the laws of the State of New York, without regard to conflict of laws
principles.

ADELPHIA COMMUNICATIONS CORPORATION

BY /s/ Erland E. Kailbourne

Chairman and Interim Chief Executive Officer
(with the authority of the Special Committee)

NAME:
TITLE:
DATE:

/s/ John J. Rigas

John J. Rigas

/s/ Michael J. Rigas

Michael J. Rigas

/s/ Timothy J. Rigas-

Timothy J. Rigas

/s/ James J. Rigas

James J. Rigas

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page`22 of 56 Page |D #: 264

nom Se%!u '1‘

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 23 of 56 Page_ |D #: 265

DECLARATION OF JOHN J. RIGAS

 

C_
w tim
l. l am the former Chief Executive Officer and Chairman of Adelphia

C a
Communication Corp. (the “Company”), a company that l founded in 1952 upon pl{r,.'§:has‘irig
r; c

 

r:
the rights to wire Coudersport, Pennsylvanla for cable televlsion. §§ W;
33 la

 

2. Adelphia’s Bylaws provided that the Company would advance legal fees
ll`..`}

U"i

all

whenever a person is made a party to any proceeding civil or criminal, “by reason dfthe“fdct
that the person is or was a director or officer of the Corporation.” During my tenure with
Adelphia, I am not aware of the Company refusing a request by any officer or director of the
Company for advancement of legal expenses until its announcement that it would not
advance legal fees for me or my sons Tim and Michael Rigas Moreover, 1 am not aware of
any occasions in which Adelphia undertook to make a determination as to whether an officer
or director had breached duties to the Company before advancing legal costs

3. Between March 27, 2002 and May 23, 2002, Adelphia’s Board of Directors
had multiple discussions some of which occurred during formal board meetings regarding
Whether it would be appropriate to indemnify and advance defense costs to Adelphia’s
officers and directors in regard to events arising out of a possible government investigation
These discussions included attorneys from Adelphia’s long-time counsel Buchanan lngersoll,
along with lawyers from Fried Frank. All directors and attorneys present during these
discussions consistently agreed that indemnification and advancement were appropriate
lndeed, 1 recall that the discussion of indemnification was raised by Adelphia’s non-Rigas
directors immediately after the disclosure Those non-Rigas directors insisted that
everybody’s legal fees must be paid by the Company. It was an issue that was of deep

concern to me as Chairman, as it was to Adelphia’s other directors

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 24 of 56 Page lD #: 266

4. To the best of my recollection, prior to June 2002, 1 was never asked to pay for
legal services rendered to me nor, to my knowledge was anybody who worked for Adelphia.
1 understood that those charges were to be paid by Adelphia.

5. 1n mid-May, 2002, we received word that some of Adelphia’s directors had an
urgent need to meet with us A late night meeting with Adelphia directors Erland Kailboume
and Pete Metros was held at the Rigas family home in Coudersport, Pennsylvania. At that
meeting, Mr. Kailboume stated his belief that a change in the public face of the Company was
necessary for Adelphia’s future He also stated that the government was asking for our
resignations However7 Mr. Kailboume and Mr. Metros told us that they felt the Rigas family
had not done anything fraudulent or improper. Mr. Kailboume told me that once the issues
confronting the Company had been resolved, 1 would return to a more formal role with the
Company and that, in the meantime 1 would continue to be involved and interact with
Adelphia leadership and personnel in an informal way. After hard consideration, and for the
good of the Company, 1 agreed to resign on or about May 13, 2002.

6. On or about May 14, 2002, a Board of Directors meeting occurred with various
Adelphia directors and outside counsel During that meeting, Audrey Strauss a senior
attorney with Fried Frank, gave a report via telephone regarding her recent meeting with the
government 1 vividly recall Ms Strauss stating that the government was angry and believed
that Adelphia was not cooperating Ms. Strauss advised that a continued failure to cooperate
as the government viewed it, would be met with serious consequences for Adelphia, possibly
including indictment

7. 1\/ls. Strauss’s comments came as a complete shock to me since 1 thought that
both the Rigas family and Adelphia were providing all the information asked of us 1

consistently pressed her for examples of anything Adelphia or the Rigas family had failed to

CaSe 1211-CV-O6964-K|\/|W DOC #Z 6 Filed 10/04/11 Page 25 0156 Pdge |D #Z 267

do that had been asked of us. She said that she did not know of any lack of cooperation and
could not tell us what the government meant ln fact, we previously authorized Fried Frank to
hire an accountant (PriceWaterhouse) to assist its investigation and, at all times when we
remained in charge of Adelphia, gave Fried Frank access to any Company documents it
required 1 approached Mr. Kailboume to inquire what the supposed lack of cooperation was
and Mr. Kailboume who was aware of all the ways my family and 1 were cooperating with
the govemment, expressed his shock that anyone could suggest we were being less than fully
cooperative

8. Pn`or to executing the Agreement with Adelphia on May 23, 2002, Adelphia’s
outside directors consistently expressed support for me and my family and indicated that they
did not believe we had engaged in any wrongdoing For instance Mr. Kailboume and Mr.
Metros stressed that 1 would always be an important part of the Company, maintain an office
at Adelphia, have access to Adelphia employees and retain a role as Chairman Emeritus

9. 1n addition to reaffirming that Adelphia would advance our defense costs the
May 23, 2002 Agreement provided that the Rigas family would be able to select two non-
family members to serve on Adelphia’s Board. We identified two qualified individuals Dan
Milliard and Leo Farrero, who preliminarily indicated that they were willing and able to serve
and asked to speak with the Company’s Chairman However, Mr. Milliard and Mr. Ferraro
reported to me that Company representatives had told them that they could serve as directors
but the Company would not provide them with indemnity protection Neither Mr. Milliard
nor Mr. Ferraro was willing to serve as an Adelphia director under those conditions

10. Adelphia’s refusal to indemnify the directors we selected essentially rendered
its promise to the Rigas family meaningless since under the environment that existed at the

time no competent business person would have agreed to serve as an Adelphia director

l Case 1:11-cv-06964-K|\/|Wl Doc #: 6 Filed 10/04/11 Page 26 of 56 Page |D'#: 268 '

without corporate indemnification Indeed, Adelphia provided indemnification to the newly-
appointed outside directors that were not selected by the Rigas family.

11. Between May 23 and June l (the date on which Adelphia determined that it
would not pay defense costs for the Rigas family), 1 was not requested to provide the Special
Committee with any information or to cooperate with it in any regard Similarly, 1 was not
asked to respond to any allegation that 1 had breached my duties to the Company.

12. 1nitially, Paul Grand was hired to represent the entire Rigas family with respect
to the government’s investigation Subsequently, on Mr. Grand’s recommendation that all
family members retain separate counsel 1 hired Peter Fleming of the Curtis Mallet-Provost
law firm to represent me with respect to a potential criminal investigation However, due to
the sophisticated nature of the transactions under investigation7 1 also desired to obtain
another law firm having sufficient resources and expertise to handle a case of this complexity,
which would supplement the work of our criminal defense attorneys F or instance due to the
sophisticated nature of the transactions under investigation my family engaged the Dewey
Ballentine law firm to7 among other things assist criminal counsel in analyzing the
sophisticated business transactions at issue and developing a cohesive strategy for defending
against the multi-faceted attack against us Retaining such co-counsel was essential to my
family and me but we were required to terminate Dewey Ballentine due to a lack of funds to
pay it.

13. Due to the massive complexity of the matters at issue all firms 1 spoke with
estimated legal costs in the millions and required substantial retainers. Without Adelphia
paying the legal fees and without advancement by the Rigas family entities 1 lacked the
reliable payment source necessary to secure such counsel As a result, during a critical time

period, l was left without the comprehensive legal representation the situation required

Case 1:11-cv-06964-K|\/|W Doc#: 6 Filed 10/04/11 Page 27 of'56 Page |D #: 269

14. Fuitheniiore 1 was not able to pay my lead criminal defense counsel to prepare
to defend the criminal case in the manner in which it would have been defended if Adelphia
were paying the bills We were thus unable to pay our attorneys to review the millions of
documents that had been produced iii the case by the government and third parties (including
documents produced by Buchanan, which were not received until two months prior to trial).
lnstead, the Rigas family had to do much of their own document review from home utilizing
unsophisticated coding systems

15. During the time period from Adelphia’s decision to cease advancing defense
costs through the conclusion of the criminal trial, the substantial majority of my personal
assets consisted of Adelphia securities or ownership in the Rigas Family Entities (private
companies owned by the Rigas family). Despite my efforts to liquidate assets to secure funds
to pay for the criminal defense these assets could not be readily liquidated for a variety of
reasons including the encumbrances created by the 5/23 Agreement and injunctions issued by
the bankruptcy court restricting the sale of assets owned by us or the Rigas Family Entities
Today, as a result of an April 2005 settlement agreement with the government all of my
ownership interests in any material assets were either forfeited to the government or have
been transferred to, or for the benefit of, other members of the Rigas family, as consideration
for their consent to the forfeiture of their assets to the government The legal fund established
in our settlement agreement with Adelphia has already been exhausted

16. During the year prior to trial, 1 was consistently and regularly advised by my
criminal counsel that the lack of funding was imperiling counsel’s ability to defend the case. 1
Spent much of my own time and effort during this period trying to get funds to pay for an
adequate defense of the case. My counsel told me that if he had proper funding for trial

preparation, he would win the case.

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 28 of 56 Page |D #: 270

I declare under penalty of perjury that the foregoing is true and correct to the best of

my knowledge information and belief under 28 U.S.C. § 1746.

Executed on:

 

f/»#EMQ/?a

J<l im J aig/as

 

728415_6

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 29 of 56 Page |D #: 271

ivan puwo

Case 1:11-cv-06964-K|\/|W Doc #: 6 Filed 10/04/11 Page 30 of 56 Page |D #: 272

DECLARATION OF PAUL R. GRAND
l. I am a principal of Morvillo, Abramowitz, Grand, lason, Anello & Bohrer, P.C.

(“Morvillo Abramowitz”).

2. I served as primary criminal trial counsel to Timothy Rigas in this case afnd make

 

filed by John Rigas and Timothy Rigas (the “Rigases”). §§ jim
C"`} “
3. ln the spring of 2002, my firm was retained to represent Tim Rigas in §hatyy)§as

 

then an investigation by the Department of justice and the United State Securities & é)<chz:u:’ige
Commission. Shortly after my firm was retained, Curtis Mallet-Prevost, Colt & Mo<sle, 1:LP
(“Curtis”) was retained to represent John Rigas and Swidler Berlin Shereff Friedman, LLP
(“Swidler”) was retained to represent Michael Rigas

4. lt quickly became apparent to me that the Rigases’ prosecution would be historic
in terms of its overall complexity and scope 1 also soon learned that the Rigases had very few
available liquid assets with which to pay experts consultants and counsel (once initial retainers
were exhausted).

5. ln late September 2002, defense counsel began receiving a vast number of
documents from the government pursuant to Rule l6 of the Federal Rules of Criminal Procedure.
These documents came from numerous sources including Adelphia and Adelphia’s auditors
(Deloitte & Touche). From late 2002 through early 2003, the Rigases received approximately 8
million pages of material all of which needed to be reviewed and analyzed to defend against the
criminal charges pending against the Rigases.

6. Although my recommendation and preference was to have this review conducted
by lawyers and an outside consultant with document management and accounting expertise due

to a lack of money to pay these professionals Tim Rigas his brothers Michael and James, co-

8122528”1

Case 1:11-cv-O6964-K|\/|W -| Doc #: 6 Filed lO/OE/ll Page 31 of 56 Page |D #: 273

defendant Michael Mulcahey, and several former Adelphia employees who were working for the
Rigases, undertook the initial task of reviewing these documents l had a number of concerns
with this approach, including that the document review would not be as complete or useful as it
could be if it had been conducted and supervised by counsel and consultants Because of the
Rigases’ lack of funds, an outside consultant (Navigant Consulting lnc.) was not retained to
assist with the document review until January of 2003. While Navigant and defense counsel
devoted substantial time to reviewing documents, even after this date, the Rigases continued to
take the lead in reviewing documents produced by the United States Attorney’s Office.

7. lt now appears that significant exculpatory documents were missed in the
Rigases’ document review. By way of example, at least two exculpatory documents were not
uncovered by the Rigases The first document is a 1999 memorandum from James Brown, a
prosecution witness, to Adelphia’s Board of Directors. [A true and correct copy of this
memorandum is attached hereto as Exhibit “A”]. This memorandum dealt with the concept of
co-borrowing and explicitly disclosed to the Board that the Rigases were using co-borrowed

funds for their purchases of Adelphia stock The second document is a Janua ' 9

q 1993

memorandum from Bruce Booken to Carl Rothenberger, Jr. (two of Adelphia’s lawyers at
Buchanan lngersoll) and Paula Zawadzki. [A true and correct copy of this memorandum is
attached hereto as Exhibit “B”]. This document memorializes a conversation regarding how the
Rigases could use Adelphia credit availability to fund purchases of stock.

8. ln early 2003, I learned that Adelphia and its Special Litigation Committee had
created catalogues indexing Adelphia’s documents on an issue by issue basis (the “lndex”). The

Rigases moved to compel the production of the lndex, which Adelphia had shared with the

government, but that motion was denied. l am informed that filings in Adelphia’s bankruptcy

8122528_1

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 32 of 56'Page |D #: 274

proceedings reflect that Adelphia paid professionals for approximately 15,000 to l6,000 hours of
work devoted to preparing the Index. Due to the Rigases’ precarious financial condition, they
were unable to dedicate the tremendous resources needed to recreate this index.

9. ln the fall of 2003, the Honorable Robert E. Gerber of the United States
Bankruptcy Court for the Southern District ofNew York granted the Rigases’ application to have
their private cable companies, which were then under the control of Adelphia, pay additional
defense costs. Had this money been available earlier in the case, defense counsel could have
done far more to prepare for the upcoming trial, which at that point was scheduled to begin in

less than three months.

lO. l declare under penalty of perjury that the foregoing is true and correct under 28

U.s.C. § 1746.

EXECUTED oN;ociober ,2011 %MZ /%M'»Q

Pa\'ll R. Grand

3122528_1

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 33 of 56 Page |D #: 275

EXhibit A

 

Case 1:11-cv-O6964-K|\/|W Doc #:'6 Filed 10/04/11 Page 34 of 56 Page |D #: 276

EXH|B|T

K, _'>H~z
`_`

- ' /' To: Adelphia'Communications Corporation Board of Directors
From: .lim Brown - VF Fiuance
Rc: Status of Banlc Financing

On February 17, 1999, Adelphia Communications Corporation and the John Rigas family
requested proposals for the placement of $700 Million of senior debt by several cable
television companies (collectively the “Bonowers") owned by Adelphia subsidiaries or
by the Rigas fim\ily. All of the companies included "m the proposed credit facilities are
ctnrently.included in the UC.A Corp. and Aftiliates (“UCA") credit agreement or the
Hiltr)n Head_ Communications (“HHC”) credit agreement We are anticipating placing
$400 MMofthe debt through commercial banks (origlnal commitments to these
properties wider the current credit agreements totaled $550 MM which has been reduced
to the prment level of`$440 MM) with the remainder to be placed with other institutions

' as a pari passu “B” Tranche. The current lenders to UCA and HHC are primarily Banks
with long term and strong relationships with Adelphia and the Rigas tirmlly.
Consequently, we expect a high degree of participation from these lenders in this new
fncility.

The initial use of proceeds from the new credit facility will be to repay existing
indebtedness of UCA and HHC and to make a distribution to the Rigas family. The
Rigas family intends to use the proceeds of this distribution to purchase equity securities
from Adelphia.

Response to the request for proposal has been exceptionally strong. To date. we have

' received pmposals horn 14 of the 16 institutions that we solicited-for proposals Each-ol`
the proposals included an otter to lead the transaction and expressed a willingness to take
underwriting risk. And none of the proposals gave any indication ofa possible diHiculty
in consummating the u'ansaetion. Addin'onally, consensus terms and pricing from the
proposals indicate this transaction can be completed on terms and pricing substantially
improved over the existing UCA and HHC credit facilities and the recently completed
Pamassos facility. 'I`hree of the proposals, those received li'om Credit Suisse Firs!
Boston, Chase Securities and TD Securitie.s, included offers to underwrite the entire
facility
On a normal course basls, the expected closing date is March 31, 1999. However, TD

`-Secun‘ties indicated a willingness to take all syndiwtioo risk, which would allow the loan
to be closed by March 15. 1999. -

A22340514

CaSe lill-CV-06964-K|\/|W DOC #Z 6 Filed 10/04/11 Page 35 Of 56 Page |D #Z 277v

EXhibit B

 

CaSe 1211-CV-O6964-K|_\/|W DOC #Z 6 Filed 10/04/11 Pége 36 Of 56 Page |D #Z 278

MEMORANDUM

lt
l

’l`o: karl Rothenberger, Jr_
Paula Zawadzki

From: Bruce l. Bookcn
Date: January 9, 1998
Re: Proposed Adelphia/Highland Holdings l-`inancing

 

 

Colin Higgin and Dcan Marshall discussed with mc yesterday the proposed financing
transaction which is primarily intended to provide liquidity to the Rigas family so that they can
participate in future Adelphia stock offerings 'l'hc Chelsea credit facility provides for the
issuance of letters of credit and thch is currently adequate borrowing capacity to allow for the
issuance ofa $50,000,000 letter of credit. A letter of credit presumably would be issued in favor
of a newly formed subsidiary of Adelphia ("Ncwco") which would be directly owned by
Adelphia and would not be part of any borrowing gronp. Ncwco would presumably agree to pay
to Chelsca the fees associated with the issuance and maintenance of the letter of credit. l am not
certain whether other amounts would bc payable to Chelsea

H'ighland Holdings, a general partnership owned by thc Rigas family, would borrow
$50,000,000 from a third party lender (presumably a bank) and the $50,000,000 bomowing
would be guaranteed by Newco. The Ncwco guaranty would be secured by the letter of credit
Newco would presumably receive a fee from Highland Holdings for thc secured guaranty being
provided for the benefit of Highland Holdings.

This proposed financing transaction appears to be a way in which Adelphia can assist and
arrange for financing for the benefit of l'lighland I'ioldings rather than directly lend money to
liighland Holdings. l would like to get together with you to generally discuss this proposed

financing structure ln particular, l would like to discuss thc various affiliate transactions which
are occurring and determine what actions should be taken with respect to those transactions

/kjb

PGHt; 367712.1 osthON
DFi-§,XH'[BIT

BlPC 2`677606

 

 

 

Case 1:11-cV-06964-KI\/|W DOC #: 6 Filed 10/04/11 Page 37 of 56 Page |D #: 279

‘looq Kauo[e],\[

Case 1:11-cv-O6964-K|\/|W DOC #: 6 Filed__l_O/OA,/ll Page 38 of 56 Page |D #: 280

UNITED STATES DISTRICT COURT FOR THE
SOU'I`HERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA
02 Cr. 1236 (LBS)
V. 1 C.
` en
JOHN J. RIGAS, TIMOTHY J. RIGAS, : §§
MICHAEL J. RIGAS, and MICHAEL C. MULCAHEY : §§
§§
DECLARATION OF MICHAEL F. MALONEY §
t:;‘ q
;`:;: f.~` l

“./ :

l. l am a Managing Director in the Disputes and Investigations practice of Navigant

Consulting, Inc.

2. In January, 2003, Navigant was retained by three law firms (the “Law Firms”)
representing members of the “Rigas Family” (John J. Rigas, Timothy J. Rigas, Michael J. Rigas,

and Jarnes P. Rigas) to provide professional consulting services (the “Engagement Letter”). l

was the Engagement Manager on the project

3. The services provided pursuant to the Engagement Letter included, without limitation,
assisting the Law Firms and the Rigas Family by reviewing documents in the criminal case
brought by the U.S. Department of Justice against John Rigas, Timothy Rigas, Michael Rigas

and Michael Mulcahey, in their capacity as fenner employees and management of Adelphia

Communications Corp. (“Adelphia”).

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed"lO/OA,/ll Page 39 of 56 Page |D #: 281

4. Speciiically, Navigant was asked to review a small subset of what I recall to be over 400
CDs containing documents relevant to the case produced by the government (the “Government

CD Production”).

5. We were not instructed by the Law Firms or the Rigas Family to review all of the
Government CD Production. At the commencement of our work, the significant majority of the
Government CD Production review was being conducted by members of the Rigas Family (the
“Rigas Team”), as opposed to counsel or Navigant. My impression was that the Law Firms and
the Rigas Family decided to have the Rigas Team perform this portion of the review in order to

save money.

6. I recall that many of the documents in the Government CD Production Were in “tiff’
format which meant that they could only be reviewed electronically on a page by page basis
instead of by document I also recall that the documents in the Government CD Production were

not searchable

7. Due to the size and condition of the Government CD Production, and the decision by the
Law Firms and the Rigas Family that the Rigas Team (which was of modest size) would assume
responsibility for reviewing the significant majority of the Government CD Production, the
process of reviewing this information was extremely cumbersome and, ultimately, in my view,
ineffective The end result, in my view, is that the Government CD Production was likely not

adequately reviewed in preparation for the criminal trial (which began in early 2004).

8. ln my view, if the Government CD Production had been in searchable format and
contained some amount of searchable “coding” (e.g., dates, document titles, custodians), the

review may have been more effective in preparation for the criminal trial.

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 40 of 56 Page |D #: 282

9. Throughout the period before the criminal trial, I recall various large document
productions being made by Buchanan lngersoll (“Buchanan”), Adelphia’s former outside law
firm. l recall more than one large production occurring very close in time to the start of the
criminal trial. Because of the late timing and the volume of documents, the entire Buchanan
population, of which Navigant was asked by the Law Firms and the Rigas Family to review

portions of, in my view was not adequately reviewed in preparation for the criminal trial.

10. When Navigant was first retained, a small team (approximately three full time Navigant
professionals) was assigned to the engagement My recollection is that Navigant was asked by
the Law Firms and the Rigas Family to begin with a small team because there were not sufficient
funds available for a larger Navigant budget that would have permitted additional staffing at that

point.

l

\
ll. In my view, if Navigant had been given a larger budget at the commencement of our

Engagement, we were in a position to add, and would have added, additional skilled professional
resources to our team. Had that occurred, l believe the review of documents in the case from the
commencement of our Engagement until August 2003 likely may have been much more

productive and effective

12. Sometime after the Bankruptcy Court ordered additional defense ii.lnding on August l,
2003, Navigant was given the authority by the Law Firms and the Rigas Family, to expand the

Navigant team significantly, resulting in a team of between 10 and 20 professionals

13. In summary, I believe that there was not sufficient funding or resources available to

review the Govemment CD Production and the Buchanan document populations in a manner that

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 41 of 56 Page |D #: 283

may have necessarily identify all of the critical documents in preparing the defense for the

criminal trial.

14. The facts stated in this Declaration are true and correct to the best of my knowledge,
information and belief. l make this Declaration pursuant to the penalties applicable for unsworn

falsification to authority.

Michael Maloney

DATED: septemberBQ, 2011

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 42 of 56 Page |D #: 284

'loaq gsogza.r([

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/0_4/11 Page 43 of 56 Page |D #: 285

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA, csx
my
. . r;.;
Plaintiff, §
against z 02 Cr. 1236 (LBS) §
3 c“:=
JOHN J. RIGAS, TIMGTHY J. RIGAS, §§
MICHAEL J. RIGAS and MICHAEL C. MULCAHEY, §§
Defendants. “, _
DECLARATION OF BENARD V. PREZIOSI, JR.
l. I am a member of the Bar of this Court and of Curtis, Mallet-Prevost, Colt

& Mosle LLP. Iwas a member of the Curtis trial team, led by Peter Fleming Jr. (Who died in
2009), Which defended John Rigas at the trial which resulted in his conviction on July 8, 2004.

2. Annexed hereto as Exhibit l is a true and correct copy of a July 3, 2007
affidavit of Mr. Fleming, together With its Exhibit A, that was submitted in connection with a
motion of John and Timothy Rigas for a new trial. I reviewed this affidavit and its Exhibit with
Mr. Fleming and other defense counsel prior to the time that it was submitted and it accords with
my recollection of the events in which I was involved.

3. The firm Buchanan lngersoll, as we understood it, had been lead outside
counsel for Adelphia Communications Corporation and its subsidiaries (collectively,
“Adelphia”) during the period relevant to the events at issue in the criminal case, and Carl
Rothenberger had been the lead partner at the Buchanan firm with regard to the Adelphia

account Based upon information that was made available to us during the criminal case, we

 

CaSe 1211-CV;O6964-K|\/|W DOC #Z 6 Filed 10/04/11 Page 44 Of 56 Page |D #Z 286

understood that Mr. Rothenberger and his firm had been involved in virtually every transaction
of significance in which Adelphia engaged, and that l\/lr. Rothenberger (and/or other attorneys at
the Buchanan firm) had attended all of the meetings of the Adelphia Board of Directors. The
Curtis trial team, as well as counsel for the other defendants, considered Mr. Rothenberger to be
a key witness and in that regard, we sought through his attorney (Who was also counsel for the
Buchanan firm) to interview him. Counsel informed us on a number of occasions that he would
not permit his clients, including Mr. Rothenberger, to speak with defense counsel. Defense
counsel were very wary about calling Mr. Rothenberger as a defense witness because he would
not speak with us in advance

4. During jury selection, the prosecution sent a letter to defense counsel
dated February 24, 2004 advising that Mr. Rothenberger “may be able to provide information
that is favorable to the defense concerning the timber rights transaction discussed in the
Govemment’s Bill of Particulars.” The timber rights transaction was one of many transactions
that were alleged in the Indictment and in the Bill of Particulars. A true and correct copy of the
February 24, 2004 letter is annexed hereto as Exhibit 2. lt is my recollection that when we
received this letter, we understood that Mr. Rothenberger had spoken with the Government and
we were of the view that, while he may have had helpful information regarding one of the
multitude of transactions alleged in the Indictment and in the Bill of Particulars, other
information he provided to the Government would likely have been inculpatory of the Rigases on
other issues. As a result, and because of his refusal to speak with us, the defense determined not

to call Mr. Rothenberger as a witness in the case.

 

EXECUTED ON: October 3, 2011

 

B/ENARD v. PREZIosI, JR.

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 45 of 56 Page |D #: 287

EXHIBIT 1

Case 1:11-cv-O6964-KI\/|W Doc #: 6 Filed 10/04/11 Page 46 of 56 Page |D #: 288

Patrick M. Northen (PN-377 l)

lawrence G. McMichael (Admission Pro Hac Vice Pending)
DILWORTH PAXSON LLP

3200 Mellon Bank Center

1735 Marl<et Street

Philadelphia, PA 19103-7595

(215) 575-7000

Attomeys for Defendants John J. Rigas and Timothy J. Rigas

UNI'l`ED STATES DISTR]C'I` COURT
SOUTHERN DISTRICT OF NEW YORK

 

X
UNITED STATES OF AMERICA, :
02 Cr. 1236 (LBS)
Plajntiff,
A_FFIDAVIT OF
-against~ : PETER FLEMING JR.
JOHN J. R.IGAS, TIMO'I`H`Y .l. RIGAS,
MlCHAEL J. RIGAS and MICHAEL C. MULCAHEY,
Defendants. ;
X

 

STA'I`E OF NEW YORK )
) ss.:
COUNTY OF NEW YORK )

PETER FLEM!NG JR., being duly sworn says:

l. l am a member of the Bar of this Court and of the firm ofCurtis, Mallet-
Prevost, Colt & Mosle LLP.

2. l served as lead counsel in the defense of.lohn Rigas at the trial which
resulted in his conviction on July 8, 2004. I make this affidavit in connection with the motion of
John and Timothy Rigas for a new uial based upon testimony provided in the post-conviction

litigation

3754294v|

 

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 47 of 56 Page |D #: 289

3. 'l`here is attached to this affidavit as Exhibit A a description of events
having to do with the potential testimonial composition of the defense case in the criminal trial.
lt accords with my recollection of ali the events in which l was involved, and, to the extent it

involves my co-counsel, is based upon their recent communications with me. Co-counsel do

agree with the contents ofExhibit A. § )M

Peter Fleming Jr. \i

Swom to before me this
3“j y ofiuiy, 2007.

aj

Notary Public

LlNDA L. FROCCARO
Notary Publtc, State ot New Vork
. No. XX-XXXXXXX
Oue_|tf`ied in New York County
Comm¢ssion Expires May 31, 2010

_2_
3754294vl

 

 

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 48 of 56 Page |D #: 290

EXHIBIT A

The case against the Rigases was unique in terms of the breadth of the alleged
criminal conduct. The indictment charged fraud in connection With the recording of, and
disclosure relating to, the co-borrowed debt, and the reclassification ofco-borrowed debt from
the books of Adelphia to the books of a Rigas co-borrower in connection with the October 2001
securities purchase by a separate Rigas entity. lt also charged EBITDA manipulations based
upon the marketing support arrangements between Adelphia and Scientific Atlanta and
Motorola. ln addition, the indictment charged understatement of capital expenditures in
connection with an alleged fraudulent converter box sale from Adelphia to a Rigas entity,
misrepresentations to rating agencies concerning de-leveraging and liquidity, fraud in connection
with the payments of funds to members of the Rigas family, the payment by Adelphia of Rigas
margin loan calls, the undisclosed use of corporate aircraft and the undisclosed development of a
golf course on land owned by the Rigases, and bank hand based upon claimed improper post-
closing adjustments designed to impact the leverage ratio reported to lenders.

The large number of charges in the indictment, which themselves raised a myriad
of accounting and disclosure issues, were expanded by the Government’s Bill of Paniculars
(which was filed in June 2003) and then by its Preclusive Bill of Pam`culars (which was filed in

January 2004). There, the Government charged:

o Alleged fraud in connection with a variety of securities
transactions other the October 2001 securities purchases
(BOP 11 81. a. 2.)

~ The alleged improper allocation of interest associated with
the co-borrowing debt and the affiliate receivables (BOP 11
81 a. 3.)

v Improper activities in connection with a multitude of real
estate transactions (BOP 11 81. a. 4.- lO.)

3 754 294vl

 

 

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 49 of '56 Page |D #: 291

3754294v|

The improper allocation of the cost associated with the
acquisition of the Prestige cable systems (BOP‘\] 8l a. ll.)

Alleged undisclosed payments to Wending Creek Farm
and Eleni’s lnteriors (BOP 1 81 a. 12-13.)

Alleged improper advances of funds to finance the
production of Songcatcher (BOP 11 81. a. 14).

Alleged improper charges to Adelphia for golf club
memberships, other personal expenses of the Rigases (e.g.,
Ellen Rigas’s wedding), and charitable donations (BOP 1l
81.3..15-16.)

The alleged improper taking by John Rigas of $30,000,000
in the early 19905 (BOP ‘ll 81. a. 17.)

The alleged misappropriation of treasury stock for use in

connection with the acquisition of the Sabres hockey
franchise (BOP 11 81 a. 18.)

Alleged EBITDA manipulations resulting from the
improper failure to consolidate foreign cable systems

(BoP 11 82 a. 1.)

Alleged EBlTDA manipulations resulting from the
improper recording of placement fees (BOP 11 82 a 3.)

Alleged misrepresentations concerning the use of margin
loans in connection with securities transactions (BOP 1 82
a. 4-5.)

Alleged misrepresentations in the statements of cash flow
relating to advances to and from related parties (BOP 1[ 83
a. 6.)

Alleged EB!TDA manipulations resulting ii'om the

improper charge to capital expenditures of labor costs
(BOP 11 89 a.)

Alleged EBITDA manipulations resulting from the use of
misleading subscriber numbers in calculating revenue
under programming contracts with HBO/Cinemax and
Viacom (BOP 11 89 b.)

The alleged improper recognition of revenue resulting the
@Home warrants (BOP ll 89 c.)

_4-

 

l Case 1:11-cv-O6964-K|\/|W Doc #: 6 _l£i'|ed 10/04/11` Page 50 of 56 Page |D #: 292

¢ Alleged EBI'I'DA manipulations resulting from the over-
capitalization of labor costs, subcontractor fees, insurance
premiums and system power costs (BOP 11 96 a.)l

Deloitte & Touche audited Adelphia during all ofthe years in question and, in
each year, issued a clean audit opinion. Buchanan & lngersol, and its partncr, Carl Rothcrberger,
were Adelphia’s main outside counsel during the entire period in question, were involved in
virtually every major transaction, including all of the direct placements of securities to the
Ri gases and all of the co-bomowing credit facilities, and attended all of the Board meetings. The
Government did not call any witness from Deloitte or Buchanan. Nor did the Government call '
any witness from Scientitic Atlanta or Motorola, the contra-parties in the marketing support
transactions Further, in addition to those current and former Adelphia employees called by the
Government during its case (including Brown), other witnesses with potentially relevant
knowledge who remained employed by Adelphia were not called by the Govemment.

Shortly before trial, the Government produced 3500 material relating to more
than 150 Government witnesses. That material, as it related to Deloitte personnel, included
transcripts of testimony, including testimony in SEC investigative proceedings relating to
Adelphia. To the extent these materials related to certain issues in the criminal case - including
the recording of the co-borrowing debt and the netting of affiliate receivables ~ it was of
significant benefit to the defense position

Attempts were made by the defense to interview relevant personnel from

Deloitte, Scientit'rc Atlanta and Motorola, and Buchanan. Deloitte refused interviews Counsel

did have limited contact with individual counsel for Gregory Dcarlove, the Deloitte engagement

' During trial. the Government was pemtitted to prove additional transactions, beyond those identified in even an i
expansive reading of the Bill of Pnru'culars, that were claimed to have been fraudulent and that gave rise to
accounting issucs. For example, the Government was permitted to show that John Rigas acquired certain local cable l
systems with funds, paid over time, from the Adelphia concentration account t

_5_
3754294v1

-CaSe 1211-CV-06964-K|\/|W DOC #Z 6 Filed 10/04/11 PaQe 51 Of 56 Page |D'#Z 293

partner for the year end 2000 audit, and through counsel received limited information regarding
what Mr. Dearlovc might say. However, it is uncertain whether a full interview would have been
permitted, and Mr. Dearlove received an SEC Wells Notice on October l, 2003, making any
cooperation with the defense in a criminal case extremely remote.2 While defense counsel
believe that Scientiftc Atlanta and Motorola refused interviews, they cannot support that belief
with certainty.

The position of these entities was somewhat unusual, but understandable in light
of the fact that the Government, in its Preclusive Bill of Particulars, identified Scientific Atlanta
and Motorola as "co-conspirators" and stated:

'l`he Government hereby gives notice that it reserves the right to

add lvan Hoffrnann, William\ Caswell, and Deloitte & Touche,

LLP, to the list of unindicted co-conspirators pending the outcome

of ongoing investigative efforts
The effect of being identified by the Government as a coconspirator in any case ~ much less a
case of this magnitude - is obvious

Counsel for Buchanan likewise informed defense counsel that he would not
permit his clients to talk with the defense. lt was further suggested to defense counsel that
individual Buchanan attorneys might assert their Fifth Amendment privileges il` called to testify.

Finally, in an October 14, 2002 memorandum1 issued shortly after the indictment
had been returned and when Adelphia was openly cooperating with the government and under
the threat of indictment, Adelphia’s Vice President and General Counsel directed all Adelphia

employees in no uncertain terms that they should not speak with the Rigases or their counsel and

 

3 Mr. Dearlovc was subsequently the subject of an SEC administrative proceeding pursuant to Section ZIC of the
Securities Exchange Act of 1934 and Rule 102(e) of the Commission’s Rules of Practice. ln that case, the
Administrative Law Judge found that the SEC's own expert had acknowledged that no FAS standard specified how
joint and several liability arising under a credit agreement should bc treated1 and had conceded that “the joint-and-
several liability provisions of the credit agreement were not sufficieut, on their own and without resort to FAS 5, to
support his conclusion that most of thc tro-borrowing debt should have been booked as Adelphia`s liability."

-6_
3754294vl

 

 

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 52 of 56 Page |D #: 294 ' v

should report to him any efforts that were made by the Rigases or their representatives to contact
the employees ln the memorandum, the employees were advised that Adelphia`s Legal
Department would review any such contact “and may refer the matter to appropriate government
agencies." Quite clearly, this memorandum had a chilling effect on personnel who could
potentially assist the defense. Aside from the risk ofjob loss in a community with few
employment opportunities, no employee would want the prosecution to be told that he or she was
cooperating with the defense The chilling effect of Adelphia’s memorandum was underscored
when the Government itself identified a host of Adelphia employees, including Dean Marshall,
Joseph Sabol and Jason Woolcock, as co-conspirators and co-schemers in its Bill of Particulars.
Michael Brady, an Adelphia employee who was not identified as a co-conspirator, did speak to
defense counsel on two or three occasions, but subsequently, when approached by a defense
team investigator, refused to say anything without a subpoena. Ann Montgomery refused to
return calls from that investigator.

Counsel’s diligence is also demonstrated by letters that were sent to a large

number of individuals (or, where known, their counsel) identified by the Government as

witnesses in the 3500 material, including, among others, Joseph Sabol and Jason Woolcocl<, as

well as many of the senior Deloitte personnel. ln the letter, defense counsel asked for an
opportunity to meet or speak telephonically with the witness at a time and in a fashion

convenient for the witness The defense received few responses to those letters, and in those few

responses, the witnesses declined to be interviewed

ln sum, any Adelphia employee in a significant accounting role was targeted as a
criminal, and all Adelphia employees were gagged under threat of reference to the Government;

Motorola and Scientific Atlanta were labeled as corrupt; and Deloitte & Touclte and its personnel

-7-
3754294~,1

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 53 of 56 Page |D #: 295

were, at a minimum, under suspicion lndeed, in a pre-indictment meeting in the Summer of
2002, counsel for John Rigas expressed the view that any charge based upon the impropriety of
the accounting for and disclosures relating to the co-borrowing debt would be wrong and unfair
because Deloitte, as the Government knew, had known about and passed upon these issues based
upon a FAS 5 analysis. AUSAS Clark and Colcman responded by stating in words or substance
that Deloitte was indictable. Later, during trial, counsel for John Rigas reiterated the view, this
time to AUSA Owens, that the co-borrowing fraud charge was wrong in the face of the clear
evidence that Deloitte knew the relevant facts and approved the accounting and disclosure.
AUSA Owens responded in words or substance that if he had one more piece of evidence
establishing criminal intent on the part of Deloitte, he would indict the linn. lt is a certainty that
the Govemrnent’s position had been expressed to Deloitte and its counsel. That Deloitte was at
serious risk in the event it supported the Rigas defense cannot be questioned

For whatever reasons, including the foregoing, key witnesses - identified by the
Government as potential Government witnesses - were not available for interview by the
defense Had the Government called these witnesses, the defense would have cross-examined.
When the Government did not call any of these witnesses, the defense was put to a Hobson's
choice - (a) subpoena the witness and take him “cold" not knowing what he might say
concerning issues about which the 3500 material was silent or ambiguous, with the obvious risk
that the Government, having undoubtedly advised the witness (or the company with which he or
she was associated) that the witness or the employer was in peril, could potentially obtain very
damaging testimony, true or false, on those issues from a defense witness, or (b) pass on calling
the witness, The choice was discussed among counsel and with at least Tim and John Rigas. In

the end, counscl, with the concurrence of the Rigas dcfendants, determined that the appropriate

-g-
3754294vr

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 54 of 56 Page |D #: 296

course in all the circumstances was not to call witnesses who would not speak with the defense
given the substantial risk that they might testify adversely for whatever reason as to matters not
adequately covered in the 3500 materials, and thereby permit the Government to strengthen its
case through defense witnesses. This risk was heightened in the case of witnesses - Deloitte,
Seientific Atlanta, Motorola and the Adelphia employees - labeled by the Government as actual
or potential co-conspirators _ who, quite naturally, would not want to testify in a manner that
was contrary to the Government’s version of the facts.

In a real scnse, many of the key witnesses, including those identified above, were
unavailable to the defense before and_during the criminal trial. As set forth above, the defense
made efforts to overcome this hurdlei But the lawyers for the witnesses would not agree to
interviews, the Adelphia witnesses were shackled with a gag order and the threat of prosecution,
Motorola and Scientific Atlantn were tarred as eo-conspirators, and Deloitte was under
investigation and refused to be interviewed Although the Government listed many charges in
the bill of particulars, it ultimately chose not to attempt to prove many of those allegations
lndeed, the Government even chose not to attempt to prove certain of the allegations in the
indictment (i.e., the converter box fraud). lt seems apparent that the Govemrnent, which chose
not to call an accounting expert and itself avoided calling Deloitte or the attorneys, knew full
well that its multiplicity of charges put the defense in the impossible position described.

We believe that counsel’s professional judgment was one with which virtually
any competent_. experienced criminal defense counsel would agree This Court should find that
the witnesses identified herein, and the testimony they gave at subsequent post-conviction

depositions and hearings, were unavailable to the defense during the criminal trial.

3754294vl

 

Case 1:11-cv-O6964-K|\/|W Doc #: 6 Filed 10/04/11 Page 55 of 56 Page |D #: 297

EXHIBIT 2

Case 1:11-cv-O6964-K|\/|W Doc#: 6 Filed 10/04/11 Page56 of 56 Page |D #: 298

lLS.DcparhnentofJusdce

United S!ate.v Attorney
Southern Dlsrricr ofNew York

nn Si.lw`a J. l\ alial B `[ding
wastes llt

m York 07

February 24, 2004

To All Counsel
(Distribution List Attached)

Re; United States v. John J. Rigas, et al.,
si 02 Cr. 1236 (LBS)

Dear Counsel:

The Government writes to inform you that Carl
Rothenberger, Esq. may be able to provide information that is
favorable co the defense concerning the timber rights transaction
discussed in the Government's Bill of Particulars.

Very truly yours,

DAvID N. KELnEY
United States At: forney
Southern District of New York

By:

 

Christopher J. Clark

Richard D. Owens

Judd C. Lawler

Assist;ant United St;at:es At:r.orneys
(212) 637-2205/2415/270]_

al araayie\

